             Case:22-10884-TBM Doc#:1 Filed:03/18/22                                  Entered:03/18/22 13:22:05 Page1 of 41


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Foodspace Technology, Inc.

2.   All other names debtor
     used in the last 8 years
                                   Lunchbox, LLC
     Include any assumed           Foodspace Technology, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3754 S. Walden Way                                              3754 S. Walden Way
                                  Aurora, CO 80013                                                Aurora, CO 80013
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Arapahoe                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       foodspacetech.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
             Case:22-10884-TBM Doc#:1 Filed:03/18/22                                       Entered:03/18/22 13:22:05 Page2 of 41
Debtor    Foodspace Technology, Inc.                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5182

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
             Case:22-10884-TBM Doc#:1 Filed:03/18/22                                            Entered:03/18/22 13:22:05 Page3 of 41
Debtor    Foodspace Technology, Inc.                                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
            Case:22-10884-TBM Doc#:1 Filed:03/18/22                        Entered:03/18/22 13:22:05 Page4 of 41
Debtor   Foodspace Technology, Inc.                                                 Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
             Case:22-10884-TBM Doc#:1 Filed:03/18/22                                    Entered:03/18/22 13:22:05 Page5 of 41
Debtor    Foodspace Technology, Inc.                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 18, 2022
                                                  MM / DD / YYYY


                             X /s/ Daniel DeMillard                                                       Daniel DeMillard
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Interim Chief Executive Officer




18. Signature of attorney    X /s/ Robertson B. Cohen                                                      Date March 18, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Robertson B. Cohen #35252, Colorado
                                 Printed name

                                 Cohen & Cohen, P.C.
                                 Firm name

                                 1720 S Bellaire St
                                 Ste 205
                                 Denver, CO 80222
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     303-933-4529                  Email address


                                 #35252, Colorado CO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
           Case:22-10884-TBM Doc#:1 Filed:03/18/22                                              Entered:03/18/22 13:22:05 Page6 of 41




 Fill in this information to identify the case:

 Debtor name         Foodspace Technology, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 18, 2022                          X /s/ Daniel DeMillard
                                                                       Signature of individual signing on behalf of debtor

                                                                       Daniel DeMillard
                                                                       Printed name

                                                                       Interim Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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           Case:22-10884-TBM Doc#:1 Filed:03/18/22                                                                          Entered:03/18/22 13:22:05 Page7 of 41

 Fill in this information to identify the case:

 Debtor name            Foodspace Technology, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,865,271.05

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,865,271.05


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              9,458.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,400,898.72


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,410,356.72




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
           Case:22-10884-TBM Doc#:1 Filed:03/18/22                                      Entered:03/18/22 13:22:05 Page8 of 41

 Fill in this information to identify the case:

 Debtor name         Foodspace Technology, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Republic First Bank                                     Checking                        7846                                     $4,279.05



                    Chase Bank
           3.2.     (negative balance)                                      Business Checking               8639                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $4,279.05
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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           Case:22-10884-TBM Doc#:1 Filed:03/18/22                                             Entered:03/18/22 13:22:05 Page9 of 41

 Debtor         Foodspace Technology, Inc.                                                            Case number (If known)
                Name


           11a. 90 days old or less:                                 13,125.00   -                                   0.00 = ....                 $13,125.00
                                              face amount                               doubtful or uncollectible accounts



           11a. 90 days old or less:                                 12,000.00   -                             12,000.00 = ....                          $0.00
                                              face amount                               doubtful or uncollectible accounts



           11a. 90 days old or less:                                    90.00    -                                  45.00 = ....                       $45.00
                                              face amount                               doubtful or uncollectible accounts



           11a. 90 days old or less:                                   300.00    -                                150.00 = ....                      $150.00
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                                       60.00    -                                30.00 =....                          $30.00
                                              face amount                               doubtful or uncollectible accounts



           11b. Over 90 days old:                                      150.00    -                                75.00 =....                          $75.00
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                  $13,425.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                       Net book value of         Valuation method used   Current value of
                                                                                     debtor's interest         for current value       debtor's interest
                                                                                     (Where available)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
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           Case:22-10884-TBM Doc#:1 Filed:03/18/22                                     Entered:03/18/22 13:22:05 Page10 of 41

 Debtor         Foodspace Technology, Inc.                                                    Case number (If known)
                Name

 39.        Office furniture

 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            Six laptops, one desktop comuputer, three
            monitors and one work station. Desk(s) for
            employees. Other small misc.
            Located CO, MA, CT, CA, PA                                                  $8,000.00     N/A                                 Unknown



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                                   $0.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Pending Non-approved:
            Patent USA: Utility- NPNEW #17/444,536
            Patent PCT: Utility- ORG #PCT/US2021/044795
            Trademarks:
            90/514,38590/696,09290/696,15390/696,1589069
            6160                                                                            $0.00     N/A                                 Unknown



 61.        Internet domain names and websites

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                      Entered:03/18/22 13:22:05 Page11 of 41

 Debtor         Foodspace Technology, Inc.                                                   Case number (If known)
                Name

            foodspacetech.com                                                               $8.99    N/A                                Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Industy emails                                                                  $0.00    N/A                                Unknown



 64.        Other intangibles, or intellectual property
            Software code, database and datasets                                            $0.00    N/A                                Unknown



 65.        Goodwill

 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            NOL                                                                                Tax year 2019                          $37,604.00



            NOL                                                                                Tax year 2020                        $199,325.00



            NOL                                                                                Tax year 2021                      $2,610,638.00



 73.        Interests in insurance policies or annuities


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                      Entered:03/18/22 13:22:05 Page12 of 41

 Debtor         Foodspace Technology, Inc.                                                   Case number (If known)
                Name

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                          $2,847,567.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                    page 5
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                                          Entered:03/18/22 13:22:05 Page13 of 41

 Debtor          Foodspace Technology, Inc.                                                                          Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $4,279.05

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $13,425.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $2,847,567.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,865,271.05            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,865,271.05




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                   Entered:03/18/22 13:22:05 Page14 of 41

 Fill in this information to identify the case:

 Debtor name         Foodspace Technology, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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           Case:22-10884-TBM Doc#:1 Filed:03/18/22                                                     Entered:03/18/22 13:22:05 Page15 of 41

 Fill in this information to identify the case:

 Debtor name         Foodspace Technology, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim            Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $9,458.00     $9,458.00
           Internal Revenue Service                                  Check all that apply.
           Centralized Insolvency Operation                             Contingent
           P. O. Box 7346                                               Unliquidated
           Philadelphia, PA 19101-7346                                  Disputed

           Date or dates debt was incurred                           Basis for the claim:
           12/31/2020                                                Tax debt

           Last 4 digits of account number 4065                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                       $959.00
           Amazon Web Services                                                         Contingent
           410 Terry Avenue North                                                      Unliquidated
           Seattle, WA                                                                 Disputed
           Date(s) debt was incurred 03/01/2022
                                                                                   Basis for the claim: Service fees
           Last 4 digits of account number 1606
                                                                                   Is the claim subject to offset?           No   Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                   $15,000.00
           Ambika Subramaniam                                                          Contingent
           4725 Lake Villa Drive                                                       Unliquidated
           Metairie, LA 70002                                                          Disputed
           Date(s) debt was incurred 04/02/2021
                                                                                   Basis for the claim: SAFE (Simple Agreement for Future Equity)
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No   Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                             page 1 of 13
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                              Entered:03/18/22 13:22:05 Page16 of 41

 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $60,192.00
          Aquiva Labs                                                           Contingent
          52 Riley Rd. #522                                                     Unliquidated
          Kissimmee, FL 34747                                                   Disputed
          Date(s) debt was incurred 11/30/2021
                                                                             Basis for the claim: Service Fees
          Last 4 digits of account
          number Foodspace Technology                                        Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Barry J. Coffman, Revocable Trust                                     Contingent
          837 Great Plain Ave                                                   Unliquidated
          Needham, MA 02492                                                     Disputed
          Date(s) debt was incurred 2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Berwind-Shappy Investments, LLC                                       Contingent
          PO Box 750                                                            Unliquidated
          Groton, MA 01449                                                      Disputed
          Date(s) debt was incurred 02/15/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $225,000.00
          Berwind-Shappy Investments, LLC                                       Contingent
          PO Box 750                                                            Unliquidated
          Groton, MA 01450                                                      Disputed
          Date(s) debt was incurred 06/03/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Berwind-Shappy Investments, LLS                                       Contingent
          87 Great Plain Ave.                                                   Unliquidated
          Needham, MA 02492                                                     Disputed
          Date(s) debt was incurred 06/02/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,809.90
          Boston AI, LLC                                                        Contingent
          9 Steven Ln.                                                          Unliquidated
          Medfield, MA 02052                                                    Disputed
          Date(s) debt was incurred 03/03/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account
          number Foodspace Technology                                        Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $82,015.95
          Brex                                                                  Contingent
          12832 Frontrunner Blvd., Suite 500                                    Unliquidated
          Draper, UT 84020                                                      Disputed
          Date(s) debt was incurred 1/22/22 to 2/26/22
                                                                             Basis for the claim: Credit card
          Last 4 digits of account
          number Foodspace Technology, LLC                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 13
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                              Entered:03/18/22 13:22:05 Page17 of 41

 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          C.J.B. III 2006 Trust                                                 Contingent
          447 Beacon St, #2                                                     Unliquidated
          Boston, MA 02115                                                      Disputed
          Date(s) debt was incurred 02/5/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,499.73
          Catherine Yaghsizian                                                  Contingent
          573 Steele Rd.                                                        Unliquidated
          Boston, MA 02115                                                      Disputed
          Date(s) debt was incurred 04/01/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Charles J. Brucato III                                                Contingent
          447 Beacpn St., #2                                                    Unliquidated
          Boston, MA 02115                                                      Disputed
          Date(s) debt was incurred 10/04/2021
                                                                             Basis for the claim: Loan
          Last 4 digits of account
          number Foodspace Technology                                        Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,210.56
          Chase                                                                 Contingent
          P.O. Box 15123                                                        Unliquidated
          Wilmington, DE 19850-5123                                             Disputed
          Date(s) debt was incurred February 2022
                                                                             Basis for the claim: Overdraft
          Last 4 digits of account number 8639
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,375.00
          CompEAP                                                               Contingent
          2 Mount Royal Ave, Suite 480                                          Unliquidated
          Marlborough, MA 01752                                                 Disputed
          Date(s) debt was incurred 01/12/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number Foodspace
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $75,000.00
          Concordia Partners                                                    Contingent
          130 Warren St.                                                        Unliquidated
          Brookline, MA 02445                                                   Disputed
          Date(s) debt was incurred 06/18/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Dan Powdermaker 2020                                                  Contingent
          119 Lincoln st.                                                       Unliquidated
          Newton Highlands, MA 02461                                            Disputed
          Date(s) debt was incurred 07/12/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 13
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                              Entered:03/18/22 13:22:05 Page18 of 41

 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Daniel and Julie Stevenson                                            Contingent
          307 Smith Neck Rd. S.                                                 Unliquidated
          South Dartmouth, MA 02748                                             Disputed
          Date(s) debt was incurred 06/14/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $250,000.00
          Finistere Ventures, LLC                                               Contingent
          250 Cambridge Ave, Ste. 104                                           Unliquidated
          Redwood City, CA 94062                                                Disputed
          Date(s) debt was incurred 10/13/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Fund1, a series of huntington Avenue Ven                              Contingent
          PO Box 3217                                                           Unliquidated
          Seattle, WA 98114                                                     Disputed
          Date(s) debt was incurred 05/19/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,305.00
          Google                                                                Contingent
          1600 Amphitheatre Parkway                                             Unliquidated
          Mountain View, CA 94043                                               Disputed
          Date(s) debt was incurred 03/01/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number 34E8
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          GSI US                                                                Contingent
          Department 781271                                                     Unliquidated
          PO Box 78000                                                          Disputed
          Detroit, MI 48278-1271
                                                                             Basis for the claim: Service fees
          Date(s) debt was incurred 02/08/222
          Last 4 digits of account number 7512                               Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Guideline                                                             Contingent
          1645 E. 6th St., Sutie 200                                            Unliquidated
          Austin, TX 78702                                                      Disputed
          Date(s) debt was incurred 03/10/2022
                                                                             Basis for the claim: Unpaid 401k distributions
          Last 4 digits of account number Foodspace
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gusto                                                                 Contingent
          525 20th Street                                                       Unliquidated
          San Francisco, CA 94107                                               Disputed
          Date(s) debt was incurred 03/10/2022
                                                                             Basis for the claim: Payroll taxes/benefits
          Last 4 digits of account number Foodspace
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 13
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                              Entered:03/18/22 13:22:05 Page19 of 41

 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,000.00
          Hamid Onifade                                                         Contingent
          209 E 121th St.                                                       Unliquidated
          New York, NY 10035                                                    Disputed
          Date(s) debt was incurred 12/10/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,836.16
          Hamid Onifade                                                         Contingent
          210 E. 121th St., Apt. 9 E                                            Unliquidated
          New York, NY 10035                                                    Disputed
          Date(s) debt was incurred 05/01/2018
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,578.08
          Hamid Onifade                                                         Contingent
          210 E 121th St., Apt. 9 E                                             Unliquidated
          New York, NY 10035                                                    Disputed
          Date(s) debt was incurred 02/01/2019
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,948.00
          Hamilton, Brook, Smith & Teynolds, P.C.                               Contingent
          530 Virginia Rd.                                                      Unliquidated
          PO Box 9133                                                           Disputed
          Concord, MA 01742-9133
                                                                             Basis for the claim: Service fees
          Date(s) debt was incurred 10/25/2021
          Last 4 digits of account number 5838                               Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $855.93
          Hubspot, Inc.                                                         Contingent
          PO Box 419842                                                         Unliquidated
          Boston, MA 02241-9842                                                 Disputed
          Date(s) debt was incurred 02/01/2022
                                                                             Basis for the claim: Service Fees
          Last 4 digits of account number Foodspace
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,896.12
          Jeff Kolker                                                           Contingent
          6704 Kerns Rd.                                                        Unliquidated
          Falls Church, VA 22042                                                Disputed
          Date(s) debt was incurred 02/07/2018
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Joan Goldberg                                                         Contingent
          192 Commonwealth Ave., #3                                             Unliquidated
          Boston, MA 02116                                                      Disputed
          Date(s) debt was incurred 02/23/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 13
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                              Entered:03/18/22 13:22:05 Page20 of 41

 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Joan Goldberg                                                         Contingent
          193 Commonwealth Ave, #3                                              Unliquidated
          Boston, MA 02116                                                      Disputed
          Date(s) debt was incurred 06/22/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Joel Warady                                                           Contingent
          2430 Payne St.                                                        Unliquidated
          Evanston, IL 60201                                                    Disputed
          Date(s) debt was incurred 04/25/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,000.00
          Juno Equity, LLC                                                      Contingent
          78 Montgomery St.                                                     Unliquidated
          Boston, MA 02116                                                      Disputed
          Date(s) debt was incurred 11/19/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,000.00
          Kathy Kong                                                            Contingent
          10606 Melvich Lane                                                    Unliquidated
          Dublin, CA 94568                                                      Disputed
          Date(s) debt was incurred 07/07/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Keith Orlowski                                                        Contingent
          29 Peral                                                              Unliquidated
          Charlestown, MA 02129                                                 Disputed
          Date(s) debt was incurred 12/10/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,672.33
          Kevin Huestis                                                         Contingent
          100 Landsdowne St., Apt. 1207                                         Unliquidated
          Cambridge, MA                                                         Disputed
          Date(s) debt was incurred 05/01/2018
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Keystone Partners, LLC                                                Contingent
          125 Summer St., Suite 1020                                            Unliquidated
          Boston, MA 02111                                                      Disputed
          Date(s) debt was incurred 11/18/2021
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number Foodspace
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 13
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                              Entered:03/18/22 13:22:05 Page21 of 41

 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Kezar Ventures                                                        Contingent
          8 Barnstable Rd.                                                      Unliquidated
          Natick, MA 01760                                                      Disputed
          Date(s) debt was incurred 10/22/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Kung Family Office, LLC                                               Contingent
          168 Brattle St.                                                       Unliquidated
          Cambridge, MA 02138                                                   Disputed
          Date(s) debt was incurred 01/12/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Little Bird Boston Marketing & PR                                     Contingent
          7 Wadsworth St.                                                       Unliquidated
          Danvers, MA 01923                                                     Disputed
          Date(s) debt was incurred 01/03/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number Foodspace
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,500.00
          Majrorie Radlo-Zandi                                                  Contingent
          8 Bryant Rd.                                                          Unliquidated
          Lexington, MA 02420                                                   Disputed
          Date(s) debt was incurred 01/05/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,084.93
          Marcia Oshinaike                                                      Contingent
          2220 Quincy St. NE                                                    Unliquidated
          Washington, DC 20018                                                  Disputed
          Date(s) debt was incurred 05/01/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,928.60
          Montana Fredrick                                                      Contingent
          3963 W. Belmont Ave, Unit 111                                         Unliquidated
          Chicago, IL 60618                                                     Disputed
          Date(s) debt was incurred 01/12/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number Foodspace
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Nielsen Consumer. LLC                                                 Contingent
          PO Box 88956                                                          Unliquidated
          Chicago, IL 60695-8956                                                Disputed
          Date(s) debt was incurred 08/30/2021
                                                                             Basis for the claim: Service Fees
          Last 4 digits of account number 4302
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 13
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                              Entered:03/18/22 13:22:05 Page22 of 41

 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)
              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Ousiders Fund, L.P.                                                   Contingent
          50 Day St.                                                            Unliquidated
          Norwalk, CT 06854                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $750,000.00
          Outsiders Fund, L.P.                                                  Contingent
          50 Day St.                                                            Unliquidated
          Norwalk, CT 06854                                                     Disputed
          Date(s) debt was incurred 10/13/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $730.80
          Paro                                                                  Contingent
          343 W. Erie St., Suite 600                                            Unliquidated
          Chicago, IL 60654                                                     Disputed
          Date(s) debt was incurred 12/31/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number Foodspace
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,000.00
          Paul Henderson                                                        Contingent
          2 Shipyard Lane                                                       Unliquidated
          Mattapoisett, MA 02739                                                Disputed
          Date(s) debt was incurred 11/25/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Paul Henderson                                                        Contingent
          3 Shipyard Lane                                                       Unliquidated
          Mattapoisett, MA 02739                                                Disputed
          Date(s) debt was incurred 06/10/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Peter Rait                                                            Contingent
          72 Beacon St.                                                         Unliquidated
          Boston, MA 02108                                                      Disputed
          Date(s) debt was incurred 12/9/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Peter Rait                                                            Contingent
          72 Beacon St.                                                         Unliquidated
          Boston, MA 02108                                                      Disputed
          Date(s) debt was incurred 12/18/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 13
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                              Entered:03/18/22 13:22:05 Page23 of 41

 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)
              Name

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,444.00
          Polsinelli                                                            Contingent
          One International Place, Suite 3900                                   Unliquidated
          Boston, MA 02110                                                      Disputed
          Date(s) debt was incurred 02/23/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number 5904
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,000.00
          R. Douglas Murphy                                                     Contingent
          106 Appleton St.                                                      Unliquidated
          Boston, MA 02116                                                      Disputed
          Date(s) debt was incurred 9/30/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,769.60
          Ramp Business Corporation                                             Contingent
          71 5th Avenue, 6th Floor                                              Unliquidated
          New York, NY 10003                                                    Disputed
          Date(s) debt was incurred 12/17/21 to 02/27/2022
                                                                             Basis for the claim: Credit Card
          Last 4 digits of account
          number Foodspace Technology, LLC                                   Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,848.81
          Republic First Bank DBA Republic Bank                                 Contingent
          Two Liberty Place 50                                                  Unliquidated
          S. 16th St., Suite 2400                                               Disputed
          Philadelphia, PA 19102
                                                                             Basis for the claim: PPP loan
          Date(s) debt was incurred 5/17/2020
          Last 4 digits of account number 7407                               Is the claim subject to offset?     No       Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $146,800.00
          Republic First Bank DBA Republic Bank                                 Contingent
          Two Libert Place 50                                                   Unliquidated
          S. 16th St., Suite 2400                                               Disputed
          Philadelphia, PA 19102
                                                                             Basis for the claim: PPP loan
          Date(s) debt was incurred 3/10/2021
          Last 4 digits of account number 7407                               Is the claim subject to offset?     No       Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Robert Lacour Mitchell                                                Contingent
          1584 Timberland Rd. NE                                                Unliquidated
          Atlanta, GA 30345-4163                                                Disputed
          Date(s) debt was incurred 9/5/2020
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,090.41
          Robert Lacour Mitchell                                                Contingent
          1584 Timberland Rd. NE                                                Unliquidated
          Atlanta, GA 30345-4163                                                Disputed
          Date(s) debt was incurred 05/01/2018
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 13
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                              Entered:03/18/22 13:22:05 Page24 of 41

 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)
              Name

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Rosenheim Advisors                                                    Contingent
          352 Sheffield St.                                                     Unliquidated
          Staten Island, NY 10310                                               Disputed
          Date(s) debt was incurred 05/31/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Salesforce.com                                                        Contingent
          PO Box 203141                                                         Unliquidated
          Dallas, TX 75320-3141                                                 Disputed
          Date(s) debt was incurred 08/03/2021
                                                                             Basis for the claim: Service fee
          Last 4 digits of account number 5846
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,000.00
          Saloni Setia                                                          Contingent
          73 East 3rd St., #D3                                                  Unliquidated
          New York, NY 10003                                                    Disputed
          Date(s) debt was incurred 05/11/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,895.00
          Sherin and Lodgen, LLP                                                Contingent
          100 Federal St.                                                       Unliquidated
          Boston, MA 02110                                                      Disputed
          Date(s) debt was incurred 12/09/2021
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number 1148
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,625.00
          Snowflake                                                             Contingent
          Suite 3A,                                                             Unliquidated
          106 East Babcock Street                                               Disputed
          Bozeman, MT 59715
                                                                             Basis for the claim: Service fees
          Date(s) debt was incurred 12/1/2022
          Last 4 digits of account number Foodspace                          Is the claim subject to offset?     No       Yes


 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,750.00
          Storyhackers, LLC                                                     Contingent
          548 market St. 79631                                                  Unliquidated
          San Francisco, CA 94104-5401                                          Disputed
          Date(s) debt was incurred 12/01/2021
                                                                             Basis for the claim: Service fees
          Last 4 digits of account
          number Foodspace Technology                                        Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,920.55
          Sugar Mountain Capital, LLC                                           Contingent
          1725 Westlake Ave. N, Suite 200                                       Unliquidated
          Seattle, WA 98109                                                     Disputed
          Date(s) debt was incurred 06/01/2018
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 10 of 13
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                              Entered:03/18/22 13:22:05 Page25 of 41

 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)
              Name

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Thomas J Medrek 2004 Revocable Trust                                  Contingent
          8 Lancaster Rd.                                                       Unliquidated
          Windham, NH 03087                                                     Disputed
          Date(s) debt was incurred 02/16/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Thomas J Medrek 2004 Revocable Trust                                  Contingent
          1562 Sherman Ave, Ste. 200                                            Unliquidated
          Evanston, IL 60201                                                    Disputed
          Date(s) debt was incurred 06/02/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,673.91
          United Health Care                                                    Contingent
          PO Box 30555                                                          Unliquidated
          Salt Lake City, UT 84130-0567                                         Disputed
          Date(s) debt was incurred 03/01/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number 1590
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,000.00
          Unity Technologies ApS                                                Contingent
          30 3rd Street                                                         Unliquidated
          San Francisco, CA 94103                                               Disputed
          Date(s) debt was incurred 02/01/2022
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number 0427
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,125.00
          UpNext Leadership Coaching, LLC                                       Contingent
          121 High Ridge Ave.                                                   Unliquidated
          Ridgefield, CT 06877                                                  Disputed
          Date(s) debt was incurred 12/01/2021
                                                                             Basis for the claim: Service Fees
          Last 4 digits of account
          number Foodspace Technology                                        Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,600.00
          UPQODE, LLC                                                           Contingent
          41 Peabody St.                                                        Unliquidated
          Nashville, TN 37210                                                   Disputed
          Date(s) debt was incurred 11/30/2021
                                                                             Basis for the claim: Service fees
          Last 4 digits of account number 2254
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $250,000.00
          Vitality Capital, LLC                                                 Contingent
          1563 Sherman Ave, Ste. 200                                            Unliquidated
          Evanston, IL 60201                                                    Disputed
          Date(s) debt was incurred 08/17/2021
                                                                             Basis for the claim: SAFE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 11 of 13
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           Case:22-10884-TBM Doc#:1 Filed:03/18/22                                             Entered:03/18/22 13:22:05 Page26 of 41

 Debtor       Foodspace Technology, Inc.                                                              Case number (if known)
              Name

 3.73      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $50,000.00
           Whipstick Ventures, LLC                                              Contingent
           120 High Ridge Ave,                                                  Unliquidated
           Ridgefield, CT 06877                                                 Disputed
           Date(s) debt was incurred 10/05/2020
                                                                             Basis for the claim: SAFE
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $29,252.05
           Whipstick Ventures, LLC                                              Contingent
           121 High Ridge Ave.                                                  Unliquidated
           Ridgefield, CT 06877                                                 Disputed
           Date(s) debt was incurred 10/01/2019
                                                                             Basis for the claim: SAFE
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $28,473.97
           Whipstick Ventures, LLC                                              Contingent
           122 High Ridge Ave.                                                  Unliquidated
           Ridgefield, CT 06877                                                 Disputed
           Date(s) debt was incurred 02/20/2021
                                                                             Basis for the claim: SAFE
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $25,000.00
           WindWard Family, LLC                                                 Contingent
           PO Box 760                                                           Unliquidated
           Groton, MA 01450                                                     Disputed
           Date(s) debt was incurred 03/04/2021
                                                                             Basis for the claim: SAFE
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $225,000.00
           Winward Family, LLC                                                  Contingent
           PO Box 760                                                           Unliquidated
           Harvard, MA 01451                                                    Disputed
           Date(s) debt was incurred 06/04/2021
                                                                             Basis for the claim: SAFE
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $10,232.33
           Yana Galukhina                                                       Contingent
           38 Munroe Rd.                                                        Unliquidated
           Lexington, MA 02421                                                  Disputed
           Date(s) debt was incurred 08/01/2021
                                                                             Basis for the claim: SAFE
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 12 of 13
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                          Entered:03/18/22 13:22:05 Page27 of 41

 Debtor       Foodspace Technology, Inc.                                                          Case number (if known)
              Name

 5a. Total claims from Part 1                                                                       5a.       $                9,458.00
 5b. Total claims from Part 2                                                                       5b.   +   $            3,400,898.72

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $              3,410,356.72




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 13 of 13
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                   Entered:03/18/22 13:22:05 Page28 of 41

 Fill in this information to identify the case:

 Debtor name         Foodspace Technology, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Vendor/Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                03/16/2022
                                                                                    GoBrands, Inc.
             List the contract number of any                                        537 N. 3rd St.
                   government contract                                              Philadelphia, PA 19123


 2.2.        State what the contract or                   Vendor/Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                1/23/2024
                                                                                    LG Electronics
             List the contract number of any                                        128 Yeoui-daero
                   government contract                                              Yeongdeungpo-gu, Seoul, Republic of Kore


 2.3.        State what the contract or                   Vendor/Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                04/17/2022
                                                                                    Mars Information Services, Inc.
             List the contract number of any                                        800 High Street
                   government contract                                              Hackettstown, NJ 07840


 2.4.        State what the contract or                   Vendor/Contractor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                09/14/2022
                                                                                    Tyson Shared Services, Inc.
             List the contract number of any                                        2200 W. Don Tyson Pkwy
                   government contract                                              Springdale, AR 72762




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                    Entered:03/18/22 13:22:05 Page29 of 41

 Fill in this information to identify the case:

 Debtor name         Foodspace Technology, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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           Case:22-10884-TBM Doc#:1 Filed:03/18/22                                           Entered:03/18/22 13:22:05 Page30 of 41




 Fill in this information to identify the case:

 Debtor name         Foodspace Technology, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $129,043.33
       From 1/01/2022 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                 $62,997.48
       From 1/01/2021 to 12/31/2021
                                                                                                   Other


       For year before that:                                                                       Operating a business                                    $306.61
       From 1/01/2020 to 12/31/2020
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                            Entered:03/18/22 13:22:05 Page31 of 41
 Debtor       Foodspace Technology, Inc.                                                                Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Boston AI, LLC                                              02/23/2022                       $31,543.30           Secured debt
                                                                           01/29/2022                                            Unsecured loan repayments
                                                                           12/01/2021                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.2.
               Storyhackers, LLC                                           01/28/2022                         $9,004.50          Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               Ramp                                                        01/20/2022                       $20,183.94           Secured debt
                                                                           12/28/2021                                            Unsecured loan repayments
                                                                           12/21/2021                                            Suppliers or vendors
                                                                           12/17/2021                                            Services
                                                                           12/13/2021
                                                                                                                                 Other Credit Card


       3.4.
               Upwork                                                      Past 90 Days                    $100,000.00           Secured debt
               475 Branna St.; Ste 460                                     (approximate                                          Unsecured loan repayments
               San Francisco, CA 94107                                     amont)                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                  Other Payments to Upwork
                                                                                                                               (Platform that contracts labor;
                                                                                                                               payments were for services
                                                                                                                               performed)

       3.5.
               Upwork                                                      12/12/2021                       $81,487.92           Secured debt
               655 Montgomery St., Suite 490                               12/19/2021                                            Unsecured loan repayments
               Dept. 17022                                                 12/26/2021                                            Suppliers or vendors
               San Francisco, CA 94111-2676                                01/02/2022
                                                                                                                                 Services
                                                                           01/09/2022
                                                                           01/16/2022                                            Other
                                                                           01/23/2022
                                                                           01/30/2022
                                                                           02/06/2022
                                                                           02/13/2022
                                                                           02/20/2022
                                                                           02/27/2022
                                                                           03/06/2022

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2
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           Case:22-10884-TBM Doc#:1 Filed:03/18/22                                           Entered:03/18/22 13:22:05 Page32 of 41
 Debtor       Foodspace Technology, Inc.                                                                Case number (if known)



       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Daniel Yaghsizian                                            08/23/2021                       $70,212.41          Shareholder bridge loan
               869 Famington Ave., Apt. 102                                 02/25/2021                                           repayment and outstanding
               West Hartford, CT 06119                                      10/22/2021                                           payroll liability payment.
               Officer, Director, Controlling                               06/24/2021
               Shareholder                                                  05/20/2021
                                                                            03/30/2021

       4.2.    Ayodele Oshinaike                                            3-9-2021 -                     $167,218.94           Expense reimbursements,
               318 E. 117th; PH A                                           Present                                              Shareholder Bridge Loans,
               New York, NY 10035                                           (additional                                          Deliquient earnings to former
               Officer, Director, Controlling                               information                                          CEO
               Shareholder                                                  available)

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3
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           Case:22-10884-TBM Doc#:1 Filed:03/18/22                                              Entered:03/18/22 13:22:05 Page33 of 41
 Debtor        Foodspace Technology, Inc.                                                                   Case number (if known)




           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss   Value of property
       how the loss occurred                                                                                                                             lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates         Total amount or
                the transfer?                                                                                                                         value
                Address
       11.1.    Cohen & Cohen, P.C.
                1720 S. Bellaire St.
                Suite 205
                Denver, CO 80222                                     Attorneys fees                                            02/28/2022          $8,662.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers     Total amount or
                                                                                                                         were made                    value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer    Total amount or
               Address                                           payments received or debts paid in exchange                was made                  value
       13.1                                                      Debtor contracted with M Fredrick in
       .    Montana Fredrick                                     2020 to purchase back her equity;
               3963 W. Belmont Ave; Unit                         Contract price was paid on July 19, 2021,
               111                                               M Fredrick was listed as Chief Marketing
               Chicago, IL 60618                                 Officer                                                    July 19, 2021        $52,250.00

               Relationship to debtor
               Former Officer




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 4
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           Case:22-10884-TBM Doc#:1 Filed:03/18/22                                           Entered:03/18/22 13:22:05 Page34 of 41
 Debtor        Foodspace Technology, Inc.                                                               Case number (if known)



               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.2 Joe Cardin
       .    11 Pineywood Road                                    Settlement agreement payment re                         December 15,
               Saco, ME 04072                                    dispute for services rendered;                          2021                         $15,000.00

               Relationship to debtor
               Former Advisor


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     336 East Main St.                                                                                         2019-2020
                 Wallingford, CT 06492

       14.2.     243 E. 120th St.                                                                                          2019-2022
                 New York, NY 10035

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                       Yes. Fill in below:

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                            Entered:03/18/22 13:22:05 Page35 of 41
 Debtor      Foodspace Technology, Inc.                                                                 Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                            Entered:03/18/22 13:22:05 Page36 of 41
 Debtor      Foodspace Technology, Inc.                                                                 Case number (if known)



            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Verge Advisors                                                                                                             09/01/2021 to
                    Midori Williams                                                                                                            01/31/2022
                    14 Island Hill Ave., Unit 101
                    Melrose, MA 02176
       26a.2.       Robert Miller                                                                                                              11/17/2020 to
                    185 Montag Cir. NE, Suite 147                                                                                              12/01/2021
                    Atlanta, GA 30307

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Daniel Yaghsizian                                                                        Records held digitally in the cloud,
                    869 Farmington Ave, Apt. 102                                                             accessible by individual among others.
                    West Hartford, CT 06119

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                            Entered:03/18/22 13:22:05 Page37 of 41
 Debtor      Foodspace Technology, Inc.                                                                 Case number (if known)



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Daniel Yaghsizian                              869 Farminton Ave., Apt. 102                        Chief Operating Officer,              47.5
                                                      West Hartford, CT 06119                             Director, Major Shareholder

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Daniel DeMillard                               3754 S Walden Way                                   CEO
                                                      Aurora, CO 80013



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Ayodele Oshinaike                              PHA                                                 Chief Executive Officer,          03/01/2019 to
                                                      318 E. 117th                                        Director, Controlling             01/17/2021
                                                      New York, NY 10035                                  Shareholder
       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Montana Fredrick                               3963 W. Belmont; Unit 111                           Former Chief Marketing            Nov 2020 - Dec
                                                      Chicago, IL 60618                                   Officer                           2021

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Jennifer Onopa                                                                                     Fomer Cheif Nutrition             Nov 2020 - Feb
                                                                                                          Officer                           2022


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value




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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                            Entered:03/18/22 13:22:05 Page38 of 41
 Debtor       Foodspace Technology, Inc.                                                                Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates        Reason for
                                                                 property                                                             providing the value
       30.1                                                                                                              03/08/2021
       .                                                                                                                 03/19/2021
                                                                                                                         04/02/2021
                                                                                                                         04/16/2021
                                                                                                                         04/30/2021
                                                                                                                         05/17/2021
                                                                                                                         06/04/2021
                                                                                                                         06/11/2021
                                                                                                                         06/25/2021
                                                                                                                         07/09/2021
                                                                                                                         07/23/2021
                                                                                                                         08/06/2021
                                                                                                                         08/20/2021
                                                                                                                         09/03/2021
                                                                                                                         09/17/2021
                                                                                                                         10/08/2021
                                                                                                                         10/15/2021
                                                                                                                         10/19/2021
                                                                                                                         10/29/2021
                                                                                                                         11/12/2021
               Daniel Yaghsizian                                                                                         11/26/2021
               869 Farmington Ave., Apt. 102                                                                             12/10/2021
               West Hartford, CT 06119                           Salary paid in the amount of $45,068.52                 12/24/2021

               Relationship to debtor
               Officer, Director, Controlling
               Shareholder


       30.2                                                                                                              03/08/2021
       .                                                                                                                 03/19/2021
                                                                                                                         04/02/2021
                                                                                                                         04/16/2021
                                                                                                                         04/30/2021
                                                                                                                         05/17/2021
                                                                                                                         06/04/2021
                                                                                                                         06/11/2021
                                                                                                                         06/25/2021
                                                                                                                         07/09/2021
                                                                                                                         07/23/2021
                                                                                                                         08/06/2021
                                                                                                                         08/20/2021
                                                                                                                         09/03/2021
                                                                                                                         09/17/2021
                                                                                                                         10/08/2021
                                                                                                                         10/15/2021
                                                                                                                         10/19/2021
                                                                                                                         10/29/2021
                                                                                                                         11/12/2021
               Daniel DeMillard                                                                                          11/26/2021
               3754 S. Walden Way                                                                                        12/10/2021
               Aurora, CO 80013                                  Salary paid in the amount of $85,180.69                 12/24/2021

               Relationship to debtor
               Officer, Director, Controlling
               Shareholder




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 9
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                            Entered:03/18/22 13:22:05 Page39 of 41
 Debtor       Foodspace Technology, Inc.                                                                Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.3                                                                                                              03/08/2021
       .                                                                                                                 03/19/2021
                                                                                                                         04/02/2021
                                                                                                                         04/16/2021
                                                                                                                         04/30/2021
                                                                                                                         05/17/2021
                                                                                                                         06/04/2021
                                                                                                                         06/11/2021
                                                                                                                         06/25/2021
                                                                                                                         07/09/2021
                                                                                                                         07/23/2021
                                                                                                                         08/06/2021
                                                                                                                         08/20/2021
                                                                                                                         09/03/2021
                                                                                                                         09/17/2021
                                                                                                                         10/08/2021
                                                                                                                         10/15/2021
                                                                                                                         10/19/2021
                                                                                                                         10/29/2021
                                                                                                                         11/12/2021
               Ayodele Oshinaike                                                                                         11/26/2021
               PHA, 318 E. 117th                                                                                         12/10/2021
               New York, NY 10035                                Salary paid in the amount of $43,677.29                 12/24/2021

               Relationship to debtor
               Officer, Director, Controlling
               Shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                            Entered:03/18/22 13:22:05 Page40 of 41
 Debtor      Foodspace Technology, Inc.                                                                 Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 18, 2022

 /s/ Daniel DeMillard                                                   Daniel DeMillard
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Interim Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 11
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          Case:22-10884-TBM Doc#:1 Filed:03/18/22                                    Entered:03/18/22 13:22:05 Page41 of 41




                                                               United States Bankruptcy Court
                                                                      District of Colorado
 In re      Foodspace Technology, Inc.                                                                   Case No.
                                                                                Debtor(s)                Chapter        7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Interim Chief Executive Officer of the corporation named as the debtor in this case, hereby verify that the attached list of

creditors is true and correct to the best of my knowledge.




 Date:       March 18, 2022                                          /s/ Daniel DeMillard
                                                                     Daniel DeMillard/Interim Chief Executive Officer
                                                                     Signer/Title




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